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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA

 

- against - 18 Cr. 333 (JGK)
AKSHAY AIYER, MEMORANDUM OPINION
AND ORDER
Defendant.

 

JOHN G. KOELTL, District Judge:

The defendant, Akshay Aiyer, has filed a motion pursuant to
18 U.S.C. § 3143(b) for bail pending appeal of his conviction.
For the reasons explained below, the motion is denied.

I.

On November 20, 2019, after a three-week jury trial, the
jury returned a verdict of guilty against the defendant for one
count of conspiracy in restraint of trade in violation of
Section 1 of the Sherman Act, 15 U.S.C. § 1. More particularly,
the Indictment charged that the defendant and his co-
conspirators, “knowingly entered into and participated ina
combination and conspiracy to suppress and eliminate competition
by fixing prices of, and rigging bids for, [Central and Eastern
European , Middle Eastern, and African Emerging Markets
(“CEEMEA”)] currencies traded in the United States and
elsewhere.” Indictment, ECF No. 1, @ 20.1! The defendant filed a

motion for judgment of acquittal or, in the alternative for a

 

‘Unless otherwise noted, this Memorandum Opinion and Order omits all
alterations, citations, footnotes, and internal quotation marks in quoted
text.

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new trial, which the Court denied on July 6, 2020. See United
States v. Aiyer, 18-CR-333, 2020 WL 3636048 (S.D.N.Y. July 6,
2020). The Court had previously denied a motion to dismiss the
Indictment on June 3, 2019, finding that the Indictment
adequately alleged “that the defendant conspired to suppress and
eliminate competition by fixing prices and rigging bids and
offers for CEFMFEA currencies,” which “is sufficient to state a
per se violation of the Sherman Act.” June 3, 2019 Conf. Tr.,
ECF No. 66, at 43. On September 17, 2020, the Court sentenced
the defendant principally to an eight-month term of
imprisonment, to be followed by two years of supervised release.
The Court permitted the defendant to voluntarily surrender on
December 4, 2020. The defendant now moves for bail pending
appeal.

il.

In relevant part, section 3143(b) provides that a district
court “shall order that a person who has been found guilty of an
offense and sentenced to a term of imprisonment, and who has
filed an appeal . . . be detained” unless certain conditions are
met. 18 U.S.C. § 3143(b). The Second Circuit Court of Appeals
has summarized those conditions as follows:

(1) that the defendant is not likely to flee or pose a

danger to the safety of any other person or the community

if released; (2) that the appeal is not for the purpose of
delay; (3) that the appeal raises a substantial question of

law or fact; and (4) that if the substantial question is
determined favorably to defendant on appeal, that decision

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is likely to result in reversal or an order for a new trial
on all counts on which imprisonment has been imposed.

United States v. Randell, 761 F.2d 122, 125 (2d Cir. 1985). A

 

“substantial question” is “one of more substance than would be
necessary to a finding that it was not frivolous. It is a close
question or one that very well could be decided the other way.”

Id.; see also United States v. Rittweger, No. 02-CR-122, 2005 WL

 

3200901, at *1 (S.D.N.¥. Nov. 30, 2005).

TIl.

The parties agree that the defendant does not pose a danger
to the safety of any other person or the community if released.
However, the Government argues that the defendant has failed to
show by clear and convincing evidence, as required by the
statute, that he is not likely to flee. The Government stresses
the defendant's alien status, financial resources, and concern
over incarceration. However, the Court is convinced by clear and
convincing evidence that the defendant is not likely to flee.
The defendant has been afforded voluntary surrender because he
is not likely to flee. He has longstanding ties to this country
and sought a sentence of imprisonment that would afford him the
opportunity to remain in this country. The defendant has always
attended court hearings and there is nothing about the length of -

his sentence that would cause a change in conduct now.

 

 
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However, the defendant has failed to raise a substantial
question of law or fact for appeal. The defendant raises three
issues, none of which are substantial, and each of which the
Court has previously denied based on well~settled precedent.

First, the defendant argues that “prior to trial, the Court
was required to examine the particular behaviors actually at
issue and to rule whether they were governed by the per se rule
or the rule of reason. Only behavior governed by the per se rule
should have been submitted to the jury as a basis for a criminal
conviction.” Def. Br., ECF No. 261, at 12. The Court properly
rejected the argument that the Court should analyze each of the
overt acts in furtherance of the conspiracy on the motion to
dismiss. The Indictment had properly alleged a conspiracy among
horizontal competitors to fix prices and rig bids for CEEMBA
currencies. That sufficiently alleged a per se violation of the

Sherman Act. See United States v. Socony-Vacuum Oi1 Co., 310

 

U.S. 150, 218 (1940); United States v. Koppers Co., 652 F.2d

 

290, 294 (2d Cir. 1981). A motion to dismiss was not the proper
forum to analyze the evidence that would be presented to
substantiate the per se violation alleged. June 3, 2019 Conf.
Tr., ECF No. 66, at 39-42. There is also no provision for a
motion for summary judgment in a criminal case.

Ultimately, the defendant argues that the question of

whether the conduct alleged is a per se violation of the Sherman

 

 
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Act is a question of law that the Court must decide. Def. Reply
Br., ECF No. 270, at 7. But the defendant entirely ignores the
trial record, the charge to the jury, and the findings that the
Court made in its opinion denying the defense motion for a
judgment of acquittal or a new trial. The defendant has not
disputed that the Court properly instructed the jury on what the
jury would be required to find as a matter of fact to find that
the government had proved beyond a reasonable doubt that the
defendant conspired to fix prices and rig bids as alleged in the
Indictment. Thereafter, based on all of the evidence, the Court
concluded that the overwhelming evidence proved that the
defendant participated in the conspiracy to fix prices and rig
bids as alleged in the Indictment. Aiyer, 2020 WL 3636048, at
*2-*8, *11-*15. The evidence included testimony by co-
conspirators about the existence of the agreement and about
transactions in furtherance of the agreement, and statements by
the defendant in furtherance of the conspiracy -- all of which
the defendant ignores on the current motion.

In his post-trial motions, the defendant argued that a
“sophisticated economic inquiry of the trading conduct at issue”
would show that there was no per se violation of the Sherman
Act. Id. at *9, In its decision on the post-trial motions, the
Court rejected that argument in view of the evidence that the

defendant and his co-conspirators conspired to fix prices and

 

 
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rig bids in the Foreign Exchange market for CEEMEA currencies.

See Arizona v. Maricopa Cnty. Med. Sec’y, 457 US 332, 351 (1982)

 

(“The anticompetitive potential inherent in all price-fixing
agreements justifies their facial invalidation even if
procompetitive justifications are offered for some”). The Court
concluded, and the defendant ignores, that the activities of the
defendant and his co-conspirators, “constituted classic price
fixing and bid rigging because the defendant and his alleged
coconspirators agreed to trade, agreed to refrain from trading,
and agreed to place bids and offers in certain ways all with the
intent and effect of artificially lowering, raising, or
stabilizing prices for CEEMEA currencies.” Aiyer, 2020 WL
3636048, at *14. While the defense argues that it was important
for the Court to determine whether the defendant and his co-
conspirators engaged in a classic price fixing and bid-rigging
conspiracy, the defendant ignores that the Court found,
consistent with the jury verdict, that the defendant did exactly
that.

The defendant argues that it was important for the Court to
determine whether the conduct of the conspirators constituted
per se price fixing and bid rigging, and points to the
affirmance of the criminal convictions in Socony-Vacuum and
Koppers. Def. Reply Br., ECF No. 270, at 6-7. But the defendant

again ignores the fact that in both cases, the courts analyzed

 
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the trial record and the jury instructions to determine whether
the conspiracies were per se price-fixing or bid rigging
conspiracies, which is precisely what the Court did in this
case.

Therefore, the defendant’s first alleged issue is not a
substantial issue for appeal, particularly when the defendant
simply ignores the trial record and the Court’s reasoning in the
post-trial motions.

Second, the defendant argues that “the Court erred in
precluding substantial evidence that the conduct in which he
engaged had no impact on supply and demand and on price.” Def.
Br., ECF No. 261, at 1. This is not a substantial issue and is

precluded by well-established authority. See, e.g., Socony

 

Vacuum, 310 U.S. at 842 (“Thus for over forty years this Court
has consistently and without deviation adhered to the principle
that price-fixing agreements are unlawful per se under the
Sherman Act and that no showing of so-called competitive abuses
or evils which those agreements were designed to eliminate or
alleviate may be interposed as a defense.”); Koppers, 652 F. 2d
at 294 (“In cases involving behavior such as bid rigging, which
has been classified by courts as a per se violation, the Sherman
Act will be read as simply saying, ‘An agreement among
competitors to rig bids is illegal.'”); United States v.

Guillory, 740 F. App’x 554, 556 (9th Cir. 2018) (“The district

 

 
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court did not preclude any relevant evidence by granting the
government’s motion in limine to prohibit Guillory from
introducing evidence or argument that the bid-rigging agreements
were reasonable. Bid-rigging is . . . a per se violation of the
Sherman Act.”).

Moreover, the Court repeatedly made it clear that if the
defendant could proffer a relevant reason for offering specific
evidence that was not simply a ruse to offer a pro-competitive
justification for price fixing and bid rigging, the court would
allow it. See, e.g., September 24, 2019 Conf. Tr., ECF No. 113,
at 15 (“The motion to exclude evidence of pro-competitive
effects of price-fixing and bid rigging is granted without
prejudice to the ability of the parties to raise the issue with
respect to specific evidence at trial.”); Trial Tr., ECF No.
174, at 1690-92, 1703 (inviting the defense to offer proper
purposes for proposed evidence). When the defense offered proper
purposes for the evidence, the Court admitted it. See, e.g.,
Trial Tr., ECF No. 168, at 1287-89 (ailowing cross examination
of Katz with respect to effects); Trial Tr., ECF No. 172, at
1602-03 (same with respect to defense examination of Professor
Carlton). These careful evidentiary rulings do not present a
substantial question for appeal. See, Aiyer, 2020 WL 3636048, at

*20-21.

 
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Third, the defendant argues that the Court erred in its
treatment of post-trial allegations of juror misconduct. The
Court conducted an appropriate inquiry, made appropriate
credibility findings, and determined that there was no basis to
vacate the jury’s verdict. The Court’s post-trial inquiry and
ultimate conclusion were consistent with the controlling
decisions of the Supreme Court and the Court of Appeals for the
Second Circuit, and were explained at length in this Court’s

prior opinion. See United States v. Aiyer, 433 F. Supp. 3d 468

 

(S.D.N.Y. 2020). The defendant’s quarrel with this Court’s
conclusions does not raise a substantial question for appeal.

See, e.g., Tanner v. United States, 4183 U.S. 107, 119-21 (1987);

 

United States v. Baker, 899 F.3d 123, 130-31 (2d Cir. 2018);

 

United States v. Stewart, 433 F.3d 273, 303 (2d Cir. 2006}.

 

Finally, the defendant contends that there are other
considerations that warrant bail pending appeal. The defendant
contends that, given the eight-month length of the term of
imprisonment, he may serve that sentence before a decision on
his appeal. But that is not a factor favoring bail, if the
defendant cannot satisfy the factors that are required to be met
before bail can be granted pending appeal.

The defendant also contends that his sentence of
imprisonment will be harsher than some other sentences because

his designated place of confinement is a privately-run facility

 

 
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rather than an institution operated by the Bureau of Prisons.
But that also is not an appropriate factor justifying bail
pending appeal. To the extent that the defendant has a basis for
contending that his place of confinement provides a compelling
reason for compassionate release, pursuant to 18 U.S.C.
§ 3582(c), he can make that application after satisfying the
requirements for such release.
CONCLUSION

The Court has considered all of the arguments of the
parties. To the extent not specifically addressed, the arguments
are either moot or without merit. Because the defendant has
failed to show that his appeal raises a substantial question of
law or fact, the motion for bail pending appeal is denied. The

Clerk is directed to close Docket No. 260.

SO ORDERED.

Dated: New York, New York b> [Celep
November 11, 2020
John G. Koeltl
United States District Judge

 

 

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